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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

  JOHN DOE, an individual,

         Plaintiff,
  vs.                                                   Case No. 16-cv-13174
                                                        Hon. David M. Lawson
  DAVID H. BAUM, SUSAN PRITZEL, TABITHA
                                                        Mag. Stephanie Dawkins Davis
  BENTLEY, E. ROYSTER HARPER, NADIA
  BAZZY, ERIK WESSEL, JEFFERY FRUMKIN
  and ROBERT SELLERS, employees of the
  University of Michigan, sued in his or her personal
  and official capacities, jointly and severally,        PLAINTIFF’S NOTICE
  UNIVERSITY OF MICHIGAN (as to Counts IV &
  V: Title IX violations), and BOARD OF REGENTS
                                                             OF APPEAL
  OF THE UNIVERSITY OF MICHIGAN, a
  constitutional corporate body (as to Counts IV, V,
  &VII: Title IX violations & disparate impact ELCRA
  claim),

          Defendants.
 ______________________________________________________________________________
  DEBORAH GORDON LAW                       MILLER, CANFIELD, PADDOCK
  Deborah L. Gordon (P27058)               AND STONE, P.L.C.
  Attorney for Plaintiff                   Megan P. Norris (P39318)
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  THE VICE PRESIDENT AND GENERAL
  COUNSEL                                  JENNER & BLOCK LLP
  Patricia M. Petrowski (P80361)           David W. DeBruin (337626)
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 ______________________________________________________________________________
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                          PLAINTIFF’S NOTICE OF APPEAL

 TO: ALL COUNSEL OF RECORD
     CLERK, U.S. COURT OF APPEALS

       Notice is hereby given that the Plaintiff in the above-captioned case, John

 Doe, hereby appeals to the United States Court of Appeals for the Sixth Circuit from

 the Order [ECF 157] entered in this action on September 30, 2019, granting in part

 and denying in part Defendants’ Motion to Dismiss, Plaintiff’s Motion for Partial

 Summary Judgment [and Injunctive Relief], and Plaintiff’s Motion for Interim

 [Injunctive] Relief, and Denying Plaintiff’s Motion for Interim Attorney Fees.

 Dated: October 29, 2019                Respectfully submitted,
                                        DEBORAH GORDON LAW
                                        /s/Deborah L. Gordon (P27058)
                                        Attorney for Plaintiff
                                        33 Bloomfield Hills Parkway, Suite 220
                                        Bloomfield Hills, Michigan 48304
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                           CERTIFICATE OF SERVICE

        I hereby certify that on October 29, 2019, I electronically filed the foregoing
 document with the Clerk of the Court using the ECF system, which will send
 notification of such filing and service of said documents to all parties through their
 counsel of record and to the Clerk, U.S. Court of Appeals for the Sixth Circuit.

                                        DEBORAH GORDON LAW
                                        /s/Deborah L. Gordon (P27058)
                                        Attorney for Plaintiff
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                                        Bloomfield Hills, Michigan 48304
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                                           2
